     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 1 of 10 Page ID #:1




 1    RACHEL E. KAUFMAN (Cal. Bar No. 259353)
      KAUFMAN P.A.
 2    400 NW 26th Street
 3    Miami, FL 33127
      Telephone: (305) 469-5881
 4
      rachel@kaufmanpa.com
 5
 6    Attorney for Plaintiff and the Proposed
      Class
 7
 8                        UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10    LARAINE WOOD, individually and on
      behalf of all others similarly situated,     Case No.
11
12                        Plaintiff,               COMPLAINT FOR:
13          v.
                                                       1. VIOLATIONS OF THE
14                                                        TELEPHONE CONSUMER
15    JCJB MARKETING INC. d/b/a                           PROTECTION ACT, 47
      AUTOMOTIVE SERVICES                                 U.S.C. § 227(c)
16    DEPARTMENT
17                                                 Class Action
                          Defendant.
18
                                                   DEMAND FOR JURY TRIAL
19
20
21          Plaintiff Laraine Wood (“Plaintiff”) by her undersigned counsel, for this
22
      class action complaint against JCJB Marketing Inc. d/b/a Automotive Services
23
24    Department and its present, former, or future direct and indirect parent companies,
25
      subsidiaries, affiliates, agents, and/or other related entities (“JCJB Marketing” or
26
27    “Defendant”), allege as follows:

28



                                       COMPLAINT - 1
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 2 of 10 Page ID #:2




 1                               I.            INTRODUCTION
 2
            1.     Nature of Action. Plaintiff, individually and as class representative
 3
 4    for all others similarly situated, brings this action against JCJB Marketing for
 5   violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”).
 6
     JCJB Marketing made multiple calls to individuals who had previously indicated
 7
 8   their desire to not receive solicitation calls by listing their number on the National
 9
     Do Not Call Registry, as Plaintiff did.
10
11          2.     Because telemarketing campaigns generally place calls to hundreds of
12    thousands or even millions of potential customers en masse, Plaintiff brings this
13
      action on behalf of a proposed nationwide class of other persons who received
14
15    illegal telemarketing calls from or on behalf of Defendant.
16
                                         II.    PARTIES
17
18          3.     Plaintiff Laraine Wood is an individual.
19          4.     Defendant JCJB Marketing Inc. d/b/a Automotive Services
20
      Department is a California corporation.
21
22                         III. JURISDICTION AND VENUE
23
            5.     Jurisdiction. This Court has subject matter jurisdiction over Plaintiff’s
24
25    TCPA claims pursuant to 28 U.S.C. § 1331 because Plaintiff’s TCPA claims arise
26    under the laws of the United States, specifically, 47 U.S.C. § 227.
27
28



                                      COMPLAINT - 2
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 3 of 10 Page ID #:3




 1           6.      Personal Jurisdiction. This Court has personal jurisdiction over JCJB
 2    Marketing because a substantial part of the wrongful acts alleged in this Complaint
 3
      were committed from California. Furthermore, JCJB Marketing is a resident of this
 4
 5    District.
 6
             7.      Venue. Venue is proper in this District pursuant to 28 U.S.C. §§
 7
 8    1391(b)(1)-(2) because a substantial part of the events giving rise to Plaintiff’s
 9   claims occurred from this District and the Defendant resides here.
10
11     IV.        THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47
12
                                           U.S.C. § 227
13
14           8.      In 1991, Congress enacted the TCPA in response to a growing number
15
     of consumer complaints regarding certain telemarketing practices.
16
17           9.      Section 227(c) of the TCPA requires the FCC to “initiate a
18   rulemaking proceeding concerning the need to protect residential telephone
19
     subscribers’ privacy rights to avoid receiving telephone solicitations to which they
20
21   object.” 47 U.S.C. § 227(c)(1).
22
             10.     The National Do Not Call Registry allows consumers to register their
23
24   telephone numbers and thereby indicate their desire not to receive telephone
25   solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).
26
27
28



                                     COMPLAINT - 3
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 4 of 10 Page ID #:4




 1          11.    A listing on the Registry “must be honored indefinitely, or until the
 2    registration is cancelled by the consumer or the telephone number is removed by
 3
      the database administrator.” Id.
 4
 5          12.    The TCPA and implementing regulations prohibit the initiation of
 6
      telephone solicitations to residential telephone subscribers to the Registry and
 7
 8    provides a private right of action against any entity that makes those calls, or “on
 9    whose behalf” such calls are made. 47 U.S.C. § 227(c)(5); 47 C.F.R.
10
      § 64.1200(c)(2).
11
12
13                            V. FACTUAL ALLEGATIONS
14
            13.    JCJB Marketing offers warranty services.
15
16          14.    One of JCJB Marketing’s strategies for marketing its services and
17    generating new customers is telemarketing.
18
            15.    Recipients of these calls, including Plaintiff, did not consent to receive
19
20    such telephone calls.
21
            16.    Plaintiff is, and at all times mentioned herein was, a “person” as
22
23    defined by 47 U.S.C. § 153(39).
24    Calls to Plaintiff
25
            17.    Plaintiff’s telephone number, (480)-881-XXXX, is a residential line.
26
27          18.    It is not associated with a business and is used by Ms. Wood only.
28



                                    COMPLAINT - 4
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 5 of 10 Page ID #:5




 1          19.   The telephone number had been on the National Do Not Call Registry
 2   for more than 31 days prior to the calls at issue.
 3
            20.   The Plaintiff received calls from JCJB on September 8, 17, 27 and
 4
 5   October 6, 2021.
 6
            21.   The calls came from Caller ID number 623-887-5556.
 7
 8          22.   Other individuals have complained about receiving calls from that
 9    same number in September 30, 2021. See https://800notes.com/Phone.aspx/1-623-
10
      887-5556 (Last Visited November 23, 2021).
11
12          23.   The calls were scripted telemarketing pitches.
13
            24.   The telemarketing pitches were designed to sell the warranty services
14
15    offered by JCJB.
16          25.   Indeed, scripted telemarketing calls to numbers on the National Do
17
      Not Call Registry are typical for JCJB.
18
19          26.   JCJB has previously been sued for alleged violations of the TCPA.
20
      See Baltimore v. JCJB Marketing Inc., Civil Action No. 1:21-cv-10045 (D. Mass.).
21
22          27.   Plaintiff and all members of the Class, defined below, have been
23    harmed by the acts of JCJB Marketing because their privacy has been violated,
24
     they were annoyed and harassed, and, in some instances, they were charged for
25
26   incoming calls. The calls occupied their telephone lines, rendering them
27
     unavailable for legitimate communication.
28



                                    COMPLAINT - 5
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 6 of 10 Page ID #:6




 1                          VI.CLASS ACTION ALLEGATIONS
 2
               28.   Class Definition. Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3),
 3
 4    Plaintiff brings this case on behalf of the Class (the “Class”) defined as follows:
 5             National Do Not Call Registry Class: All persons in the United States
 6             whose, (1) telephone numbers were on the National Do Not Call
               Registry for at least 30 days, (2) but received more than one telephone
 7
               solicitation from or on behalf of Defendant (3) within a 12-month
 8             period, (4) from four years prior the filing of the Complaint through the
 9             date of trial.

10
11             29.   Numerosity. The Class are so numerous that joinder of all its
12    members is impracticable. On the basis of JCJB Marketing’ en masse calling
13
     practices, the Class has at least hundreds of members.
14
15             30.   Commonality. There are numerous questions of law and fact common
16
      to Plaintiff and members of the Class. These common questions of law and fact
17
18    include, but are not limited to, the following:
19                   a.     Whether multiple telemarketing telephone calls were made
20
      promoting the goods or services to members of the National Do Not Call Registry
21
22    Class;
23
                     b.     Whether JCJB Marketing purchased batches of leads of
24
25   prospects who had not consented to be called by it;
26
27
28



                                      COMPLAINT - 6
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 7 of 10 Page ID #:7




 1                 c.    Whether JCJB Marketing and/or its affiliates or agents, and/or
 2   other persons or entities acting on JCJB Marketing’ behalf, knowingly and/or
 3
      willfully violated the TCPA;
 4
 5                 d.    Whether JCJB Marketing and/or its affiliates, agents, and/or
 6
     other persons or entities acting on JCJB Marketing’s behalf should be enjoined
 7
 8   from telemarketing in the future.
 9          31.    Typicality. Plaintiff’s claims are typical of the claims of the Class.
10
      Plaintiff’s claims and those of the Class arise out of the same course of conduct by
11
12    JCJB Marketing and are based on the same legal and remedial theories.
13
            32.    Adequacy. Plaintiff will fairly and adequately protect the interests of
14
15    the Class. Plaintiff has retained competent and capable counsel with experience in
16    TCPA and consumer class action litigation. Plaintiff and her counsel are
17
      committed to prosecuting this action vigorously on behalf of the Class and have the
18
19    financial resources to do so. Neither Plaintiff nor her counsel has interests contrary
20
      to or conflicting with those of the proposed Class.
21
22          33.    Predominance. JCJB Marketing has engaged in a common course of
23    conduct toward Plaintiff and members of the Class. The common issues arising
24
      from this conduct that affect Plaintiff and members of the Class predominate over
25
26    any individual issues. For example, the TCPA’s statutory damages obviate the
27
28



                                     COMPLAINT - 7
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 8 of 10 Page ID #:8




 1    need for mini-trials on actual damages. Adjudication of these common issues in a
 2    single action has important and desirable advantages, including judicial economy.
 3
            34.    Superiority. A class action is the superior method for the fair and
 4
 5    efficient adjudication of this controversy. Classwide relief is essential to compel
 6
      JCJB Marketing to comply with the TCPA. The interest of individual members of
 7
 8   the Class in individually controlling the prosecution of separate claims against
 9    JCJB Marketing is small because the damages in an individual action for violation
10
     of the TCPA are small. Management of these claims is likely to present
11
12   significantly fewer difficulties than are presented in many class actions because the
13
     calls at issue are all automated and because the TCPA articulates bright-line
14
15   standards for liability and damages.
16          35.    Injunctive and Declaratory Relief is Appropriate. JCJB Marketing has
17
      acted on grounds generally applicable to the Class, thereby making final injunctive
18
19    relief and corresponding declaratory relief with respect to the Class appropriate on
20
      a classwide basis.
21
22
23                                      VII. CAUSE OF ACTION
                          Violation of the Telephone Consumer Protection Act
24                         (47 U.S.C. 227, et seq. and 47 C.F.R. § 64.1200(c))
25                        on behalf of the National Do Not Call Registry Class
26
            36.    Plaintiff incorporates by reference the foregoing allegations as if fully
27
28    set forth herein.



                                     COMPLAINT - 8
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 9 of 10 Page ID #:9




 1          37.    Defendant violated the TCPA and the Regulations by making, or
 2    having their agent make, two or more telemarketing calls within a 12-month period
 3
      on Defendant’s behalf to Plaintiff and the members of the National Do Not Call
 4
 5    Registry Class while those persons’ phone numbers were registered on the
 6
      National Do Not Call Registry.
 7
 8          38.    As a result of Defendant’s violations of 47 U.S.C. § 227 et seq.,
 9   Plaintiff and National Do Not Call Registry Class members are entitled to an award
10
     of up to $500 in statutory damages for each and every violation of the statute,
11
12   pursuant to 47 U.S.C. § 227(c)(5).
13
            39.    Plaintiff and Class Members are entitled to an award of treble
14
15    damages if their actions are found to have been knowing or willful.
16          40.    Plaintiff and National Do Not Call Registry Class members are also
17
      entitled to and do seek injunctive relief prohibiting the Defendant from advertising
18
19    their goods or services, except for emergency purposes, to any number on the
20
      National Do Not Call Registry in the future.
21
22
23                         VII.           PRAYER FOR RELIEF
24          WHEREFORE, Plaintiff, on her own behalf and on behalf of all members of
25
      the Class, prays for judgment against JCJB Marketing as follows:
26
27          A.     Certification of the proposed Class;
28



                                    COMPLAINT - 9
     Case 8:21-cv-02024-DOC-DFM Document 1 Filed 12/09/21 Page 10 of 10 Page ID #:10




 1             B.      Appointment of Plaintiff as representative of the Class;
 2             C.      Appointment of the undersigned counsel as counsel for the Class;
 3
               D.      A declaration that actions complained of herein by JCJB Marketing
 4
 5     and/or its affiliates, agents, or related entities violate the TCPA;
 6
               E.      An order enjoining JCJB Marketing and its affiliates, agents and
 7
 8     related entities from advertising their goods or services, except for emergency
 9     purposes, to any number on the National Do Not Call Registry in the future;
10
               F.      Leave to amend this Complaint to conform to the evidence presented
11
12     at trial; and
13
               G.      Orders granting such other and further relief as the Court deems
14
15     necessary, just and proper.
16                             VIII.          DEMAND FOR JURY
17
               Plaintiff demands a trial by jury for all issues so triable.
18
19             RESPECTFULLY SUBMITTED AND DATED this 9th day of December,
20
       2021.
21
22                                           By: /s/ Rachel E. Kaufman
                                             RACHEL E. KAUFMAN
23                                           KAUFMAN P.A.
24                                           400 NW 26th Street
                                             Miami, FL 33127
25                                           Telephone: (305) 469-5881
26                                           rachel@kaufmanpa.com
27
                                             Attorney for Plaintiff Wood and the Proposed
28                                           Class


                                       COMPLAINT - 10
